 Case: 1:17-md-02804-DAP Doc #: 3670 Filed: 03/31/21 1 of 33. PageID #: 510197




                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF OHIO
                            EASTERN DIVISION


                                        )
IN RE: NATIONAL PRESCRIPTION            ) No. 1:17-MD-2804
OPIATE LITIGATION                       )
                                        ) Judge Dan A. Polster
                                        )
                                        ) MOTION TO ALLOW DEFENDANT
                                        ) WORLEY TO FILE MOTION TO
                                        ) DISMISS AND MOTION TO DISMISS
                                        )
                                        )
                                        )
 Case: 1:17-md-02804-DAP Doc #: 3670 Filed: 03/31/21 2 of 33. PageID #: 510198




                                                  TABLE OF CONTENTS
                                                                                                                                      Page

INTRODUCTION ...................................................................................................................... 1
BACKGROUND ........................................................................................................................ 3
STANDARD............................................................................................................................... 6
ARGUMENT .............................................................................................................................. 9
I.        The Court Should Consider Worley’s Motion To Prevent Him From Suffering
          Any Further Prejudice...................................................................................................... 9
II.       The Court Should Dismiss The Complaints For Failure Of Service. ................................. 9
III.      The Court Should Dismiss The Complaints Because The Plaintiffs Lack Standing. ....... 10
IV.       The Complaints Fail To State Viable Claims Against Worley. ....................................... 11
          A.         Plaintiffs Fail To Allege A Viable Claim For Unjust Enrichment Against
                     Worley. .............................................................................................................. 11
          B.         Plaintiffs Cannot Allege A Viable Negligence Per Se Claim Against
                     Worley. .............................................................................................................. 12
          C.         Plaintiffs Fail To Allege A Viable Consumer Sales Practices Act Claim
                     Against Worley. ................................................................................................. 14
          D.         Plaintiffs Fail To Allege Any Fraud By Worley With Particularity. .................... 16
          E.         Plaintiffs Fail To Allege A Viable Negligence Claim Against Worley................ 18
          F.         Plaintiffs Fail To Allege A Viable Negligent Misrepresentation Claim
                     Against Worley. ................................................................................................. 19
          G.         Plaintiffs Cannot State A Viable Public Nuisance Claim Against Worley. .......... 22
CONCLUSION ......................................................................................................................... 24




                                                                    -i-
 Case: 1:17-md-02804-DAP Doc #: 3670 Filed: 03/31/21 3 of 33. PageID #: 510199




                                                  TABLE OF AUTHORITIES

Cases                                                                                                                               Page(s)

Abington Emerson Cap., LLC v. Adkins,
   No. 2:17-CV-143, 2018 WL 4771526 (S.D. Ohio Oct. 3, 2018)......................................... 6, 9

Alexander v. Smith & Nephew, P.L.C.,
   98 F. Supp. 2d 1310 (N.D. Okla. 2000) ............................................................................... 12

Amann v. Clear Channel Commcn’s,
  165 Ohio App. 3d 291 (2006) ........................................................................................ 21, 22

Angerman v. Burick,
   2003-Ohio-1469 (Ohio App. 2003)................................................................................ 23, 24

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) .............................................................................................................. 8

Baker v. Danek Med.,
   35 F. Supp. 2d 875 (N.D. Fla. 1998) .................................................................................... 13

Bank One of Cleveland, N.A. v. Abbe,
   916 F.2d 1067 (6th Cir. 1990) ............................................................................................... 7

Bell Atl. Corp. v. Twombly,
    550 U.S. 554 (2007) .................................................................................................. 8, 16, 18

Bish v. Smith & Nephew Richards, Inc.,
   No. W1998-00373-COA-R9-CV, 2000 WL 1294324 (Tenn. App. Aug. 23,
   2000) ................................................................................................................................... 13

Blinn v. Smith & Nephew Richards, Inc.,
    55 F. Supp. 2d 1353 (M.D. Fla. 1999) ................................................................................. 13

Cali v. Danek Med., Inc.,
   24 F. Supp. 2d 941 (W.D. Wis. 1998) .................................................................................. 13

Chambers v. St. Mary’s Sch.,
   82 Ohio St. 3d 563 (1998) ............................................................................................. 13, 14

City of Cleveland v. J.P. Morgan Chase Bank, N.A.,
    2013-Ohio-1035 (Ohio App. 2013)................................................................................ 22, 24

Combs v. Mgmt. & Training Corp.,
  No. 3:15-CV-2698, 2018 WL 3060001 (N.D. Ohio June 20, 2018)........................................ 7




                                                                     -ii-
 Case: 1:17-md-02804-DAP Doc #: 3670 Filed: 03/31/21 4 of 33. PageID #: 510200




Cook v. Ohio Nat’l Life Ins. Co.,
   961 F.3d 850 (6th Cir. 2020) ............................................................................................... 11

Delman v. City of Cleveland Heights,
   41 Ohio St. 3d 1 (1989) ................................................................................................. 19, 20

Dernis v. Amos Fin.,
   701 F. App’x 449 (6th Cir. 2017) ......................................................................................... 7

Drescher v. Mancino,
   No. 50922, 1986 WL 11037 (Ohio App. Sept. 18, 1986) ................................................ 7, 10

Dryer v. Flower Hosp.,
   383 F. Supp. 2d 934 (N.D. Ohio 2005) ................................................................................ 18

Estep v. Danek Med., Inc.,
   No. 1:96-CV-2580, 1998 WL 1041330 (N.D. Ohio 1998) ................................................... 12

F.T.C. v. E.M.A. Nationwide, Inc.,
   767 F.3d 611 (6th Cir. 2014) ............................................................................................. 6, 9

Firelands Reg’l Med. Ctr. v. Jeavons,
    2008-Ohio-5031 (Ohio App. 2008)...................................................................................... 23

Firestone v. Galbreath,
    747 F. Supp. 1556 (S.D. Ohio 1990).................................................................................... 17

Fla. Carpenters Reg’l Council Pension Plan v. Eaton Corp.,
   964 F. Supp. 2d 875 (N.D. Ohio 2013) ...................................................................... 8, 19, 20

Hambleton v. R.G. Barry Corp.,
  12 Ohio St. 3d 179 (1984) ................................................................................................... 11

Hayes v. Computer Assoc. Inc.,
   No. 03:02-CV-7452, 2003 WL 21478930 (N.D. Ohio June 24, 2003) ............................ 20, 21

Kemp v. Medtronic, Inc.,
   No. 99-3720, 2001 WL 91119 (6th Cir. 2001) ..................................................................... 13

Jackson v. Cleveland Civic Foundation,
   Case No. 1:11-cv-1334, 2011 WL 4007732 (N.D. Ohio 2011)............................................. 11

Lang v. Holly Hill Motel, Inc.,
   122 Ohio St. 3d 120 (2009) ................................................................................................. 13

Lilly v. Hewlett–Packard Co.,
    No. 1:05-CV-465, 2006 WL 1064063 (S.D. Ohio Apr. 21, 2006) ............................ 14, 15, 16



                                                              -iii-
 Case: 1:17-md-02804-DAP Doc #: 3670 Filed: 03/31/21 5 of 33. PageID #: 510201




Lujan v. Defenders of Wildlife,
   504 U.S. 555 (1992) ........................................................................................................ 7, 10

Manno v. St. Felicitas Elementary Sch.,
  831 N.E.2d 1071 (Ohio App. 2005) ..................................................................................... 19

Marcellino v. Sears, Roebuck & Co.,
  No. 1:12 CV 398, 2012 WL 2568079 (N.D. Ohio July 2, 2012)..................................... 18, 19

Mathias v. Am. Online, Inc.,
   No. 79427, 2002 WL 377159 (Ohio App. Feb. 28, 2002)............................................... 14, 15

Meehan v. Mardis,
   146 N.E.3d 1266 (Ohio App. Oct. 4, 2019)...................................................................... 8, 17

Miller v. Connaught Lab’ys, Inc.,
   No. 93-1420-PFK, 1995 WL 579969 (D. Kan. Sept. 13, 1995) ............................................ 13

In re: Nat’l Prescription Opiate Litig.,
    No. 1:17-MD-02804-DAP ..................................................................................................... 6

Ohio Police & Fire Pension Fund v. Standard & Poor’s Fin. Servs., LLC,
   813 F. Supp. 2d 871 (S.D. Ohio 2011) ................................................................................. 21

Omni Capital Int’l, Ltd. v. Rudolf Wolff & Co., Ltd.,
  484 U.S. 97 (1987) ................................................................................................................ 7

Paulus v. Citicorp N. Am., Inc.,
   No. 2:12-CV-856, 2014 WL 4557603 (S.D. Ohio Sept. 12, 2014) ................................. 22, 23

Picker Int’l, Inc. v. Mayo Found.,
   6 F. Supp. 2d 685 (N.D. Ohio 1998) .................................................................................... 20

In re Porsche Cars N. Am., Inc.,
    880 F. Supp. 2d 801 (S.D. Ohio 2012) ........................................................................... 14, 16

Prince George’s Cnty., Md. v. Levi,
   79 F.R.D. 1 (D. Md. 1977) .................................................................................................. 11

Radford v. Daimler Chrysler Corp.,
   168 F. Supp. 2d 751 (N.D. Ohio 2001) .......................................................................... 15, 16

Richards v. Beechmont Volvo,
   127 Ohio App. 3d 188 (1998) .............................................................................................. 14

Roane Cnty., Tenn. v. Jacobs Engineering Group, Inc.,
   429 F. Supp. 3d 494 (E.D. Tenn. 2019) ............................................................................... 11



                                                                 -iv-
 Case: 1:17-md-02804-DAP Doc #: 3670 Filed: 03/31/21 6 of 33. PageID #: 510202




Rogozinsky v. Danek Med., Inc.,
   No. 4:96-CV-2572, 1999 WL 33537323 (N.D. Ohio July 8, 1999) ................................ 12, 13

Spit Shine A One Detailer, L.L.C. v. Rick Case Hyundai,
    100 N.E.3d 1231 (Ohio App. 2017) ..................................................................................... 17

Talley v. Danek Med., Inc.,
    179 F.3d 154 (4th Cir. 1999) ............................................................................................... 13

Temple v. Fleetwood Enters., Inc.,
   133 F. App’x 254 (6th Cir. 2005) ........................................................................................ 14

Textron Fin. Corp. v. Nationwide Mut. Ins. Co.,
   115 Ohio App. 3d 137 (1996) .............................................................................................. 19

U.S. v. City of Pittsburg, Cal.,
   661 F.2d 783 (9th Cir. 1981) ............................................................................................... 11

Uribe v. Sofamor, S.N.C.,
   No. 8:95-CV-464, 1999 WL 1129703 (D. Neb. Aug. 16, 1999) ........................................... 13

Valente v. University of Dayton,
   438 Fed. App’x 381 (6th Cir. 2011) ............................................................................... 17, 18

Volbers-Klarich v. Middletown Mgt., Inc.,
   125 Ohio St. 3d 494 (2010) ................................................................................................. 17

Wick v. Ach,
   139 N.E.3d 480 (Ohio App. 2019) ........................................................................... 12, 17, 18

Woods v. Ohio Dep’t of Rehab. & Corr.,
  132 Ohio App. 3d 780 (1999) .............................................................................................. 14

Ziegler v. Findlay Indus.,
   464 F. Supp. 2d 733 (N.D. Ohio 2006) ................................................................................ 20

Statutes

Class Action Fairness Act ........................................................................................................... 6

Food, Drug and Cosmetics Act .................................................................................... 3, 5, 12, 13

Ohio Administrative Code........................................................................................... 3, 5, 13, 14

Ohio Consumer Sales Practice Act, Ohio Rev. Code § 1345.01, et seq. ..................... 4, 14, 15, 16

Ohio Rev. Code § 2307.71 ........................................................................................................ 22




                                                                 -v-
 Case: 1:17-md-02804-DAP Doc #: 3670 Filed: 03/31/21 7 of 33. PageID #: 510203




Other Authorities

Fed. R. Civ. P. 9 .......................................................................................................................... 8

Fed. R. Civ. P. 12 .................................................................................................................... 7, 8

Ohio R. Civ. P. 4 ................................................................................................................... 7, 10

Ohio R. Civ. P. 9 ......................................................................................................................... 8

Ohio R. Civ. P. 12 ....................................................................................................................... 7

Rest. 2d Torts § 552 ............................................................................................................ 19, 21




                                                                    -vi-
 Case: 1:17-md-02804-DAP Doc #: 3670 Filed: 03/31/21 8 of 33. PageID #: 510204




                                        INTRODUCTION

       As this MDL drags on, with no apparent end in sight, the Court needs to step in to

prevent any further prejudice to Defendant Brandon Worley, who served as a sales representative

for Purdue Pharma briefly more than a decade ago. Worley finds himself as a lone individual

defendant among corporate giants as various Ohio municipalities look to assign blame (and

recover damages) for the opioid crisis in their communities. Whatever the merits of their claims

against other defendants, there is no merit to their claims against Worley, who was never even

properly served with any of the complaints filed against him. Nevertheless, he has been trapped

in a multi-district litigation purgatory for over two years with no way to defend against baseless

claims hanging over his head or extricate himself from litigation in which he never properly

belonged in the first place. Fairness and equity call out for this situation to be remedied now.

       In 2018, three Ohio counties named Worley as a defendant in identical suits blaming a

laundry list of corporate actors up and down the pharmaceutical supply and distribution chain for

the opioid crisis. Why Worley was named among these defendants remains a mystery to this

day. The complaints shed no light as they contain essentially no factual allegations about

Worley or anything he supposedly did wrong. Communications to plaintiffs’ counsel – including

to seek information on what this is all about – go entirely unanswered. And the progress of the

related MDL cases indicates that Worley’s inclusion was some kind of mistake or misguided

procedural expediency that had no relevance then and certainly has no relevance now.

       Because these counties’ complaints were consolidated into this MDL, immediately

stayed, and subject to the Court’s prophylactic filing moratorium, the existence of serious and

unanswered – but wholly unfounded and legally meritless – claims against Worley has taken an

ineluctable but unfair toll on his personal and professional life. That is particularly troubling

given Worley does have strong defenses to these claims that, if considered, should hasten his

                                                 -1-
 Case: 1:17-md-02804-DAP Doc #: 3670 Filed: 03/31/21 9 of 33. PageID #: 510205




dismissal from this litigation. Importantly, none of these complaints was ever served on Worley.

That failure alone deprives this Court of jurisdiction, and warrants dismissal.

        But aside from that basic and fatal procedural defect, the plaintiffs lack standing to bring

claims against Worley. Plaintiffs do not articulate any injury traceable to any action by Worley.

And because plaintiffs are not States, they cannot sue under a theory of parens patriae in any

event. But even if the plaintiffs had standing, the complaints fail to state any cognizable claims

against Worley anyway. All of plaintiffs’ claims are premised on sweeping allegations against

all of the defendants, reliant on conclusory allegations, and bereft of a single factual allegation

detailing anything wrong Worley supposedly did. Thus, plaintiffs allege a claim for “unjust

enrichment” against Worley, without spelling out any benefit they supposedly conferred on him.

Of course, there is none.

        Plaintiffs’ other claims similarly consist of empty boilerplate. Their fraud claims are

vapid: they allege not a single fact concerning the time, place, or content of any statement

allegedly made by Worley, to anyone, let alone a statement that was false, or anything from

Worley they supposedly relied to their detriment. Plaintiffs’ claims for violation of Ohio’s

Consumer Sales Practice Act and negligent misrepresentation similarly fail to identify any

material misrepresentation, deceptive act or omission, or affirmatively false statement by Worley

that impacted their decision to purchase any opioids. Because plaintiffs do not point to a single

statement made by Worley, they also fail to allege they were aware of any affirmative

misrepresentations made by him. Nor do they offer any factual allegations demonstrating they

justifiably relied on any allegedly affirmatively false statements made by Worley, or that he

failed to exercise reasonable care or engaged in anything other than traditional arms-length

transactions with plaintiffs and their residents, if any at all.



                                                   -2-
Case: 1:17-md-02804-DAP Doc #: 3670 Filed: 03/31/21 10 of 33. PageID #: 510206




       While plaintiffs also allege claims for negligence per se, they do not allege any facts

relevant to Worley, and Ohio does not permit negligence per se claims based on either the Food,

Drug and Cosmetics Act (“FDCA”) or the Ohio Administrative Code (“OAC”) in any event.

Their negligence claims similarly consist of nothing more than conclusory recitations of each

element of negligence, without specific allegations articulating any duty, breach, or causation

making him liable for the plaintiffs’ alleged damages. Plaintiffs’ public nuisance claims also fail

to allege Worley interfered with any public right, much less that he acted intentionally to create

the “nuisance” plaintiffs complain of. Nor do plaintiffs allege any causal relationship between

Worley’s conduct and plaintiffs’ alleged injuries, which are too far removed from any action by

Worley to give rise to cognizable claims.

       In the face of claims that are clearly procedurally defective and facially absurd and

misdirected, Worley should no longer be left to languish in this MDL in a state of legal limbo

without any ability to defend himself. The existence of these unanswered claims is causing him

grave prejudice that this Court should no longer tolerate. Accordingly, the Court should grant

this Motion and dismiss the claims against Worley.

                                        BACKGROUND

       In 2018, three Ohio counties – Noble County, Washington County, and Meigs County –

filed lawsuits against numerous corporate defendants alleging they harmed plaintiffs and their

residents by manufacturing, distributing, and mass-marketing opioids to the counties’ residents

and medical professionals. Amid its pharmaceutical, manufacturer, and distributor defendants,

the counties named Worley as a sales representative defendant. Cmplt., Noble Cty. (attached as




                                                -3-
Case: 1:17-md-02804-DAP Doc #: 3670 Filed: 03/31/21 11 of 33. PageID #: 510207




Exhibit 1 (“Ex. 1”)); Cmplt., Wash. Cty. (attached as Exhibit 2 (“Ex. 2”)); Cmplt., Meigs Cty.

(attached as Exhibit 3 (“Ex. 3”)).1

         The complaints are virtually identical and allege the same eight claims. Exs. 1-3. But

while the complaints broadly reference “all defendants,” they include virtually no allegations

about Worley’s involvement in the underlying dispute whatsoever:

         •   Count one – alleging violations of the Ohio Consumer Sales Practices Act, Chapter

1345 – includes conclusory statements about “deceptive acts or practices” by manufacturer

defendants and sales representative defendants related to marketing, distribution, and purportedly

misleading statements. Ex. 1 ¶¶ 339-55; Ex. 2 ¶¶ 340-56; Ex. 3 ¶¶ 340-56. Plaintiffs allege that

sales representative defendants made false representations regarding addiction risks, marketed

negligently, and downplayed the potential risks of prescribing and consuming opioids, but they

include no factual allegations concerning Worley. Ex. 1 at ¶ 342. They further allege – again

without any allegations related to Worley – that sales representative defendants’ “deceptive

representations . . . deceive[d] Plaintiff[s] and its residents.” Id. at ¶ 346.

         •   Count two – fraud – is based on the same allegations as Count I, without any specific

factual allegations concerning Worley. See, e.g., Ex. 1 at ¶¶ 342 & 357; see Ex. 1 ¶¶ 356-64; Ex.

2 ¶¶ 357-65; Ex. 3 ¶¶ 357-65.

         •   Count three – unjust enrichment – alleges “defendants have profited and benefited

from opioid purchases made by Plaintiffs and their residents,” and “defendants have been

unjustly enriched in the form of increased revenue and profits.” Ex. 1 ¶¶ 365-72; Ex. 2 ¶¶ 366-

73; Ex. 3 ¶¶ 366-73. But again, there are no factual allegations about Worley or any benefit the

plaintiffs supposedly conferred on him.


1
    Worley is the sole “sales representative” defendant in two of the cases.

                                                   -4-
Case: 1:17-md-02804-DAP Doc #: 3670 Filed: 03/31/21 12 of 33. PageID #: 510208




       •   Count four – negligence – recites the bare elements of the claim without a single

allegation concerning Worley. Ex. 1 ¶¶ 373-79; Ex. 2 ¶¶ 374-80; Ex. 3 ¶¶ 374-80.

       •   Count five – negligent misrepresentation – is a copy and paste job of Counts I and II,

and includes no allegations against Worley. Ex. 1 ¶¶ 380-89; Ex. 2 ¶¶ 381-90; Ex. 3 ¶¶ 381-90;

Ex 1 at ¶¶ 342, 357 & 381. Plaintiffs lodge the same bare allegations of fraud, but include no

allegations specific to Worley. Id. at ¶¶ 362 & 387.

       •   Count six – public nuisance – alleges that sales representative defendants falsely

represented the potential risks of opioid addiction but fails to include any specific allegations

against Worley. Ex. 1 ¶¶ 390-96; Ex. 2 391-97; Ex. 3 ¶¶ 391-37. Plaintiffs allege all defendants

acted willfully and maliciously toward the public without referencing Worley at all. Id. at ¶ 395.

       •   Count seven – constructive fraud – includes repetitive allegations related to sales

representatives without any factual allegations concerning Worley. See Ex. 1 ¶¶ 397-406; Ex. 2

¶¶ 398-407; Ex. 3 ¶¶ 398-407.

       •   Count eight – negligence per se under the Federal Food, Drug, and Cosmetic Act

(“FDCA”) and the Ohio Administrative Code (“OAC”) – includes no factual allegations related

to Worley. See Ex. 1 ¶¶ 406-16; Ex. 2 ¶¶ 408-17; Ex. 3 ¶¶ 408-17.

       Despite the seriousness of the charges, none of these complaints was ever served on

Worley. In Noble County, Worley received a Summons addressed to “Cardinal Health Inc.” on

November 7, 2018. Summons Return Receipt, Noble Cty. (Ex. 4). Washington County court

records show there is no copy of process directed to Worley, nor a return receipt confirming

Worley’s receipt of any service. See File Copy Summons, Wash. Cty. (Ex. 5). Instead, court

records only contain a File Copy of the Summons listing all defendants, without addresses. Id.




                                                 -5-
Case: 1:17-md-02804-DAP Doc #: 3670 Filed: 03/31/21 13 of 33. PageID #: 510209




       Meigs County sent the summons addressed to Worley by certified mail on November 8,

2018. Summons, Meigs Cty. (Ex. 6). But Worley never received the service, and the certified

mail was returned to the court and recorded as a “failure of service” in the Meigs County Court

of Common Pleas on March 15, 2019. Failure of Service, Meigs Cty. (Ex. 7).

       Defendant CVS Indiana, LLC, removed the Noble County case to the Southern District

of Ohio on November 6, 2018, under the Class Action Fairness Act (“CAFA”). In re: Nat’l

Prescription Opiate Litig., No. 1:17-MD-02804-DAP (“MDL”), Dkt. 1. On November 15, 2018,

defendant Cardinal Health, Inc., filed a Notice of Potential Tag-Along Actions with the Judicial

Panel on Multidistrict Litigation (“JPML”). JPML Dkt. 1. On November 21, 2018, the JPML

filed a Conditional Transfer Order (“CTO”), JPML Dkt. 2. JPML Dkt. Nos. 23 & 24. Then, on

April 3, 2019, the JPML transferred the original Washington County and Meigs County cases

into the In re: Nat’l Prescription Opiate Litig. MDL. JPML Dkt. 1510.

       The MDL Court issued a “moratorium on all filings” on December 14, 2017. MDL Dkt.

No. 4. The Court renewed that moratorium by order dated January 11, 2018, and again by order

dated February 16, 2018. MDL Dkt. Nos. 70 & 130. As of this filing, the moratorium remains

in place while Track 1 cases in the MDL have settled, Track 2 cases are preparing for remand to

the Southern District of West Virginia, and Track 3 cases are in discovery. MDL Dkt. Nos. 2950

& 3595. None of Worley’s cases has been scheduled for trial.

                                           STANDARD

       This motion is governed by familiar standards. As an initial matter, the Court has

“inherent authority to control its own docket,” including discretion to lift any filing moratoria.

Abington Emerson Capital, LLC v. Adkins, No. 2:17-CV-143, 2018 WL 4771526, at *2 & *4

(S.D. Ohio Oct. 3, 2018), on reconsideration in part, 2018 WL 6427683 (S.D. Ohio Dec. 7,

2018) (citing F.T.C. v. E.M.A. Nationwide, Inc., 767 F.3d 611, 626-27 (6th Cir. 2014)). And

                                                 -6-
Case: 1:17-md-02804-DAP Doc #: 3670 Filed: 03/31/21 14 of 33. PageID #: 510210




where a party is “stuck in limbo” as a result of a stay, the Court may lift the stay to prevent

further prejudice, “reduce the burden of litigation,” and “simplify the case’s issues.” Id. at *3-4.

       The Court also has authority to dismiss complaints for failure of service. Fed. R. Civ. P.

12(b)(5); see also Ohio R. Civ. P. 12(b)(5). Where, as here, a plaintiff attempts service of

process prior to removal of a case to federal court, the Court looks to “the relevant state law to

determine if a defendant has been properly served.” Combs v. Mgmt. & Training Corp., No.

3:15-CV-2698, 2018 WL 3060001, at *6 n.3 (N.D. Ohio June 20, 2018); see also Dernis v. Amos

Fin., 701 F. App’x 449, 453 (6th Cir. 2017) (stating state rules of civil procedure “concerning

service of process” apply in “state court actions prior to removal to federal court”). In Ohio, a

plaintiff must serve a defendant “within six months after filing of the complaint.” Ohio R. Civ.

P. 4(E). Where a plaintiff fails to serve a defendant without good cause, “the action shall be

dismissed” by the Court sua sponte, id., or on a motion to dismiss by the defendant under Ohio

R. Civ. P. 12(b)(5). Good cause does not exist where a plaintiff neglects to request follow-up

service when original service failed. See Drescher v. Mancino, No. 50922, 1986 WL 11037, at

*1-2 (Ohio App. Sept. 18, 1986). Without proper service, a Court lacks personal jurisdiction.

See Omni Capital Int’l, Ltd. v. Rudolf Wolff & Co., Ltd., 484 U.S. 97, 104 (1987) (holding

“[b]efore a federal court may exercise personal jurisdiction over a defendant, the procedural

requirement of service of summons must be satisfied”); Bank One of Cleveland, N.A. v. Abbe,

916 F.2d 1067, 1081 (6th Cir. 1990).

       A party must also have standing to invoke federal court jurisdiction. To establish

standing, a plaintiff must show a “concrete and particularized” injury that is “fairly traceable to

the challenged action of the defendant, and not the result of the independent action of some third

party not before the court.” Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992)



                                                 -7-
Case: 1:17-md-02804-DAP Doc #: 3670 Filed: 03/31/21 15 of 33. PageID #: 510211




(internal punctuation omitted). That “actual or imminent injury” also must be capable of

“redress[ ] by a favorable decision.” Id.

        To survive a motion to dismiss, a complaint must “contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’ ” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 554, 570 (2007)); Fed. R. Civ.

P. 12(b)(6). A claim is plausible only when “the plaintiff pleads factual content that allows the

court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

Iqbal, 556 U.S. at 678. That is, the “factual allegations must be enough to raise a right to relief

above the speculative level.” Fla. Carpenters Reg’l Council Pension Plan v. Eaton Corp., 964

F. Supp. 2d 875, 883 (N.D. Ohio 2013), aff’d sub nom. In re KBC Asset Mgmt. N.V., 572 F.

App’x 356 (6th Cir. 2014). “[M]ere legal conclusions unsupported by factual allegations” will

not do, nor will rote recitals of “the elements of a cause of action, supported by mere conclusory

statements.” Fla. Carpenters Reg’l Council Pension Plan, 964 F. Supp. 2d at 883.

        Any claims of fraud, moreover, must allege “with particularity the circumstances

constituting fraud.” Fed. R. Civ. P. 9(b). 2 That is, the plaintiff needs to allege “the time, place,

and content of the false representation, the fact misrepresented, and the nature of what was

obtained or given as a consequence of the fraud.” Meehan v. Mardis, 146 N.E.3d 1266, 1272

(Ohio App. Oct. 4, 2019). Under these standards, the Court should entertain Worley’s motion

and dismiss the complaints against him.




2
  Ohio also requires a plaintiff to allege fraud with sufficient particularity. Ohio R. Civ. P. 9(B)
(explaining “[i]n all averments of fraud or mistake, the circumstances constituting fraud or
mistake shall be stated with particularity”).

                                                  -8-
Case: 1:17-md-02804-DAP Doc #: 3670 Filed: 03/31/21 16 of 33. PageID #: 510212




                                           ARGUMENT

I.     The Court Should Consider Worley’s Motion To Prevent Him From Suffering Any
       Further Prejudice.

       The Court has and should exercise discretion to consider Worley’s motion. F.T.C., 767

F.3d at 626; Abington Emerson Capital, 2018 WL 4771526, at *2; Case Management Order One,

Dkt. 232 at 2 (noting “any party may apply at any time to this Court for a modification or

exception” to the Order). Worley never belonged in this litigation and has nothing to add to the

proceedings, yet has needlessly suffered in “limbo” for years as procedurally and substantively

deficient claims against him live on in this MDL. Id. This MDL purgatory has had serious

consequences for his personal and professional life, negatively impacting his ability to obtain life

insurance and damaging his reputation in his community. As the MDL drags on, with no end in

sight, or any opportunity for Worley to defend or extricate himself, that prejudice only grows

more acute and inequitable.

       The prejudice Worley is facing is particularly unjust given he was never even served with

the complaints against him, which are meritless in any event. In a 134-page complaint with 416

paragraphs, Worley is mentioned in only three paragraphs – two of which relate to his citizenship

and job description. Ex. 1 at ¶¶ 87, 321 & 326. Leaving the moratorium in place as to him will

neither “simplify this case’s issues nor will it reduce the burden of litigation for both parties and

the Court.” Abington Emerson Capital, 2018 WL 4771526, at *4. Dismissing Worley, by

contrast, will remove an improper party and lift the unjust burden he has born for years.

       The Court should consider Worley’s motion to dismiss.

II.    The Court Should Dismiss The Complaints For Failure Of Service.

       The complaints against Worley are properly dismissed for a basic procedural failing: he

was never served. Noble County mailed a Summons to Worley, but it addressed the Summons to



                                                 -9-
Case: 1:17-md-02804-DAP Doc #: 3670 Filed: 03/31/21 17 of 33. PageID #: 510213




“Cardinal Health Inc.” with no reference to Worley. 3 Summons Return Receipt, Noble Cty. (Ex.

4). Washington County has neither a copy of the service directed to Worley specifically, nor a

return receipt confirming Worley’s receipt of any service. See File Copy of Summons, Wash.

Cty. (Ex. 5). While Meigs County sent a Summons to Worley via certified mail on November 8,

2018, Worley never received service of process and the certified mail returned to the Meigs

County Court unclaimed, with the Court recording it as “failure of service” on March 15, 2019.

See Summons, Meigs Cty. (Ex. 6). Failure of Service, Meigs Cty. (Ex. 7).

       Worley was thus not served “within six months after filing the complaint[s].” Ohio R.

Civ. P. 4(E). Because plaintiffs made no effort to serve Worley after their service attempts

failed, they cannot show any good cause for their failures to serve him. Drescher, 1986 WL

11037, at *1-2. Accordingly, the Court should dismiss all claims against Worley.

III.   The Court Should Dismiss The Complaints Because The Plaintiffs Lack Standing.

       Even if the counties had properly served Worley, they lack standing to pursue claims

against him. Plaintiffs do not allege any “concrete and particularized” injury that is “fairly

traceable” to any action by Worley. Lujan, 504 U.S. at 560-61. Nor do plaintiffs offer more

than conclusory allegations explaining how they were allegedly harmed at all. Instead, plaintiffs

offer a laundry list of vague economic harms across the State of Ohio, without alleging how each

individual plaintiff was injured. See, e.g., Ex. 1 at ¶¶ 23, 32-36; Ex. 2 at ¶¶ 23, 32-36; Ex. 3 at

¶¶ 23, 32-36. For example, while plaintiffs allege children were born with Neonatal Abstinence

Syndrome, they do not allege they bore the cost of their treatment, or how any action by Worley

proximately caused any injury here. Ex. 1 at ¶ 32; Ex. 2 at ¶ 32; Ex. 3 at ¶ 32.




3
  Pursuant to Ohio R. Civ. P. 4(B), a summons must include “the name of the first party on each
side and the name and address of the party to be served.” (emphasis added).

                                                -10-
Case: 1:17-md-02804-DAP Doc #: 3670 Filed: 03/31/21 18 of 33. PageID #: 510214




       Plaintiffs cannot cure this deficiency by asserting they are parens patriae of their citizens.

Ex. 1 at ¶ 42; Ex. 2 at ¶ 43; Ex. 3 at ¶ 42. Only States, not counties or other political

subdivisions of States, can sue as parens patriae. See, e.g., U.S. v. City of Pittsburg, Cal., 661

F.2d 783, 786-87 (9th Cir. 1981) (holding “only the states and the federal government may sue

as parens patriae”); Roane Cnty., Tenn. v. Jacobs Engineering Group, Inc., 429 F. Supp. 3d 494,

495 (E.D. Tenn. 2019) (noting “parens patriae standing . . . is available only to sovereign states,

not cities and counties”); Jackson v. Cleveland Civic Foundation, Case No. 1:11-cv-1334, 2011

WL 4007732, at *6 (N.D. Ohio 2011); Prince George’s Cnty., Md. v. Levi, 79 F.R.D. 1, 4 (D.

Md. 1977) (explaining “[t]he power of a political subdivision of a state is derivative and not

sovereign, and it may only sue to vindicate its own interests”). Without any concrete and

particularized injury to the individual plaintiffs proximately caused by Worley, plaintiffs lack

standing to pursue any claims against him.

IV.    The Complaints Fail To State Viable Claims Against Worley.

       While the complaints should be dismissed against Worley for failure of service and lack

of standing, they also fail to state any cognizable claim against him.

       A.      Plaintiffs Fail To Allege A Viable Claim For Unjust Enrichment Against
               Worley.

       Plaintiffs’ unjust enrichment claim cannot proceed against Worley because they allege no

benefit they conferred on him. To make out a claim for unjust enrichment under Ohio law, the

plaintiffs must allege: “(1) a benefit conferred by a plaintiff upon a defendant; (2) knowledge by

the defendant of the benefit; and (3) retention of the benefit by the defendant under

circumstances where it would be unjust to do so without payment.” Cook v. Ohio Nat’l Life Ins.

Co., 961 F.3d 850, 858 (6th Cir. 2020); Hambleton v. R.G. Barry Corp., 12 Ohio St. 3d 179, 183

(1984). Because unjust enrichment is an “equitable remedy that arises in specific


                                                 -11-
Case: 1:17-md-02804-DAP Doc #: 3670 Filed: 03/31/21 19 of 33. PageID #: 510215




circumstances,” when a plaintiff fails to “indicat[e] in the pleading” the specific benefit

conferred on the specific defendant, the pleading “leaves too much to the imagination” and is

properly dismissed. Wick v. Ach, 139 N.E.3d 480, 486 (Ohio App. 2019486; see also Firelands

Reg’l Med. Ctr. v. Jeavons, 2008-Ohio-5031, at ¶¶ 32-33 (Ohio App. 2008) (holding allegation

“[defendant] has been unjustly enriched at the expense of [plaintiff]” was “too speculative”).

       Here, plaintiffs fail plausibly to allege they conferred any benefit on Worley. While they

allege “defendants have profited and benefited from opioid purchases made by plaintiffs and

their residents,” and “defendants have been unjustly enriched in the form of increased revenue

and profits,” Ex. 1 at ¶¶ 367 & 372, they offer no allegations related to Worley at all, let alone

explain any benefit conferred on him. Ex. 1 at ¶¶ 365-72; Ex. 2 at ¶¶ 366-73; Ex. 3 at ¶¶ 366-73.

Such bare and conclusory allegations “leave too much to the imagination.” See Wick, 139

N.E.3d at 486; see also Firelands Reg’l Med. Ctr., 2008-Ohio-5031, at ¶¶ 32-33.

       B.      Plaintiffs Cannot Allege A Viable Negligence Per Se Claim Against Worley.

       Plaintiffs’ negligence per se claims against Worley cannot proceed under Ohio law. That

is because “a negligence per se claim cannot succeed if the underlying statute does not allow for

a private right of action.” Rogozinsky v. Danek Med., Inc., No. 4:96-CV-2572, 1999 WL

33537323, at *2 (N.D. Ohio July 8, 1999). Here, the FDCA “does not allow for a private right of

action.” Rogozinsky, 1999 WL 33537323 at *2 (citing Medtronic, Inc. v. Lohr, 518 U.S. 470,

487 (1996) (holding FDCA permits no private right of action)); see also Estep v. Danek Med.,

Inc., No. 1:96-CV-2580, 1998 WL 1041330, at *2 (N.D. Ohio 1998) (“Congress did not intend

to create a private cause of action” under the FDCA and “[s]tate law allowing negligence per se

claims under the FDCA would circumvent Congress’ intent to preclude private enforcement”). 4


4
  State and federal courts in many other jurisdictions have similarly held the FDCA does not
provide any private rights of action. See Alexander v. Smith & Nephew, P.L.C., 98 F. Supp. 2d

                                                -12-
Case: 1:17-md-02804-DAP Doc #: 3670 Filed: 03/31/21 20 of 33. PageID #: 510216




As such, plaintiffs’ claims for negligence per se based on Worley’s violation of the FDCA

obviously fails as a matter of law. See, e.g., Rogozinsky, 1999 WL 33537323, at *2 (holding

plaintiff’s negligence per se claim based on violation of the FDCA “must fail”).

       Moreover, plaintiffs cannot maintain a claim for negligence per se in Ohio based on a

violation of an administrative rule or regulation, even if they had alleged facts supporting

Worley’s supposed violation of Section 4729-9 of the OAC. As the Ohio Supreme Court has

squarely held, “the violation of an administrative rule does not constitute negligence per se.”

Chambers v. St. Mary’s Sch., 82 Ohio St. 3d 563, 568 (1998) (holding violation of administrative

rules does not constitute negligence per se, given the “virtual impossib[ility]” for individuals to

strictly comply with “such a multitude” of administrative rules); see also Kemp v. Medtronic,

Inc., No. 99-3720, 2001 WL 91119, at *1 (6th Cir. 2001) (following Chambers in holding

violation of administrative rules and regulations does not constitute negligence per se under Ohio

law) (internal quotations omitted); Lang v. Holly Hill Motel, Inc., 122 Ohio St. 3d 120, 124

(2009) (holding “administrative-rule violations do not create a . . . finding of duty or breach” to




1310, 1321 (N.D. Okla. 2000) (holding violations of FDA regulations do not give rise to a
private cause of action for negligence per se in Oklahoma); Bish v. Smith & Nephew Richards,
Inc., No. W1998-00373-COA-R9-CV, 2000 WL 1294324, at *3 (Tenn. Ct. App. Aug. 23, 2000)
(holding no negligence per se claim under Tennessee law based on FDCA violations); Talley v.
Danek Med., Inc., 179 F.3d 154, 161 (4th Cir. 1999) (holding no negligence per se claim under
Virginia law because FDA regulations lacked substantive content); Blinn v. Smith & Nephew
Richards, Inc., 55 F. Supp. 2d 1353, 1361 (M.D. Fla. 1999) (holding no negligence per se claim
under Florida law for violations of the FDCA); Uribe v. Sofamor, S.N.C., No. 8:95-CV-464,
1999 WL 1129703, at *16 (D. Neb. Aug. 16, 1999) (holding violation of FDCA requirements
does not support a claim of negligence per se); Baker v. Danek Med., 35 F. Supp. 2d 875, 878
(N.D. Fla. 1998) (holding no negligence per se claim under Florida law because the FDCA does
not provide for a private right of action); Cali v. Danek Med., Inc., 24 F. Supp. 2d 941, 954
(W.D. Wis. 1998); Miller v. Connaught Lab’ys, Inc., No. 93-1420-PFK, 1995 WL 579969, at *9
(D. Kan. Sept. 13, 1995) (holding no negligence per se claim under Wisconsin law because
Congress did not intend to create private right of action under the FDCA for claims of
misbranding or mislabeling).

                                                -13-
Case: 1:17-md-02804-DAP Doc #: 3670 Filed: 03/31/21 21 of 33. PageID #: 510217




constitute negligence per se as it related to Building Code). But here, the OAC is only a

collection of administrative rules. See Woods v. Ohio Dep’t of Rehab. & Corr., 132 Ohio App.

3d 780, 783 (1999) (applying Chambers to a section of the OAC, and holding violation of the

OAC did not constitute negligence per se). As such, plaintiffs cannot maintain a claim of

negligence per se against Worley for any alleged violation of the OAC. See Woods, 132 Ohio

App. at 783; see also Chambers, 82 Ohio St. 3d at 568.

        C.      Plaintiffs Fail To Allege A Viable Consumer Sales Practices Act Claim
                Against Worley.

        Plaintiffs fail to allege a prima facie claim that Worley materially misrepresented,

deceived, or omitted information regarding opioids as a sales representative. To maintain a

prima facie claim under the Ohio Consumer Sales Practices Act (“OCSPA”), Ohio Rev. Code

§ 1345.01, et seq., plaintiffs must show a “material misrepresentation, deceptive act or omission

that impacted [their] decision to purchase the item at issue.” Temple v. Fleetwood Enters., Inc.,

133 F. App’x 254, 265 (6th Cir. 2005) (citing Mathias v. Am. Online, Inc., No. 79427, 2002 WL

377159, at *5 (Ohio App. Feb. 28, 2002)) (emphasis added); see also Richards v. Beechmont

Volvo, 127 Ohio App. 3d 188, 191 (1998) (“[I]n order to be deceptive, and therefore actionable,

a seller’s act must not only be at variance with the truth but must also concern a matter that is or

is likely to be material to a consumer’s decision to purchase the product or service involved”).

        Where a plaintiff alleges a defendant has made such material representations or

misstatements, “there must be a cause and effect relationship between the defendant’s acts and

the plaintiff’s injuries,” or rather, a plaintiff must allege he “saw or was . . . aware of the alleged

misrepresentations at any time before or during the purchase of the [allegedly defective

product].” Lilly v. Hewlett–Packard Co., No. 1:05-CV-465, 2006 WL 1064063, at *5 (S.D. Ohio

Apr. 21, 2006); see, e.g., In re Porsche Cars N. Am., Inc., 880 F. Supp. 2d 801, 870 (S.D. Ohio


                                                  -14-
Case: 1:17-md-02804-DAP Doc #: 3670 Filed: 03/31/21 22 of 33. PageID #: 510218




2012) (granting defendant’s motion to dismiss for failure to state a claim under OCSPA when

complaint failed to establish that “at any time before or during the purchase” of allegedly

defective product plaintiff saw or was aware of alleged affirmative misrepresentation).

Critically, “mere non-disclosure of a defect, without more, does not fall within the purview of

deceptive or unconscionable practices prohibited by the [OCSPA].” Radford v. Daimler Chrysler

Corp., 168 F. Supp. 2d 751, 754 (N.D. Ohio 2001) (quoting Bierlein v. Bernie’s Motor Sales,

Inc., No. 9590, 1986 WL 6757, at *7 (Ohio App. June 12, 1986)) (internal quotations omitted).

       Plaintiffs fail to state a viable claim against Worley for multiple reasons here. First,

plaintiffs fail to allege any statements made by Worley materially impacted their decision to

purchase opioid products. The complaints only include a list of alleged actions by sales

representative defendants generically and a blanket statement that their “deceptive

representations… deceive[d] plaintiff and its residents.” Cmplt., Noble Cty. ¶ 346 (Ex. 1);

Cmplt., Wash. Cty. ¶ 347 (Ex. 2); Cmplt., Meigs Cty. ¶ 347 (Ex. 3). But these “generalized

comments” about Worley’s “purported dissemination of false information” do not reflect a

material reliance by plaintiffs in making their purchases. See Mathias, 2002 WL 377159 at *5.

Without any allegations bearing on the impact of any specific statements made by Worley on the

plaintiffs’ decision-making, plaintiffs cannot make out a viable OCSPA claim.

       Second, plaintiffs do not allege they were aware of the alleged affirmative

misrepresentations before or during purchases, and thus fail to plead any cause and effect

relationship between Worley’s supposed statements and their purchasing decisions. Plaintiffs

allege various “deceptive acts or practices” by sales representative defendants in connection with

the sale of opioids. Ex. 1 ¶ 342; Ex. 2 ¶ 343; Ex. 3 ¶ 343. But they fail to allege they were even

aware of any such alleged misrepresentations when purchasing opioids. Lilly, 2006 WL



                                               -15-
Case: 1:17-md-02804-DAP Doc #: 3670 Filed: 03/31/21 23 of 33. PageID #: 510219




1064063, at *5. While they allege the sales representative defendants’ representations were

“likely to mislead,” “had the tendency to influence the consumer choices of plaintiff and its

residents,” and “did in fact deceive plaintiff and its residents,” such conclusory statements will

not do. Ex. 1 at ¶¶ 341, 343 & 346; In re Porsche Cars N. Am., 880 F. Supp. 2d at 817 (citing

Twombly, 550 U.S. at 554)). Without any plausible factual allegations of a cause and effect

relationship between Worley’s alleged acts and the plaintiffs’ alleged injuries, plaintiffs cannot

state viable a claim against him. Lilly, 2006 WL 1064063, at *5.

       Third, there are no allegations that Worley’s alleged statements rise above the level of

mere non-disclosure of a defect. While plaintiffs allege the sales representative defendants made

“consistent, repeated, deceptive representations that their opioids had properties unsupported by

medical literature,” they do not identify what the statements were, which sales representative

defendant supposedly made them, where or to whom they were made, or which marketing

materials were distributed containing the statements. Ex. 1 at ¶ 346. Because plaintiffs do not

allege any statements Worley allegedly made at all, at any time, to anyone, they fail to allege the

circumstances surrounding his alleged affirmative misrepresentations. See In re Porsche Cars N.

Am., 880 F. Supp. 2d at 870. Simply alleging sales representatives “downplayed” the side effects

or “overstated the benefits” of opioid therapy does not rise above mere non-disclosure of

potential defects in opioid products, and does not come within the deceptive practices prohibited

by the OCSPA. Ex. 1 at ¶ 342; see Radford, 168 F. Supp. 2d at 754.

       D.      Plaintiffs Fail To Allege Any Fraud By Worley With Particularity.

       Plaintiffs fail to allege any particularized fraud by Worley. To satisfy Rule 9’s

particularity requirement, a plaintiff needs to allege “the time, place, and content of the false

representation, the fact misrepresented, and the nature of what was obtained or given as a



                                                 -16-
Case: 1:17-md-02804-DAP Doc #: 3670 Filed: 03/31/21 24 of 33. PageID #: 510220




consequence of the fraud.” Meehan v. Mardis, 146 N.E.3d at 1272. A plaintiff must also

“specify the statements claimed to be false.” Spit Shine A One Detailer, L.L.C. v. Rick Case

Hyundai, 100 N.E.3d 1231, 1237-38 (Ohio App. 2017) (dismissing fraud claim where plaintiff

failed “to allege when [the fraudulent statement] was made and by whom”).

       Under Ohio law, the elements of a fraud claim include: “(1) a misrepresentation of a

material fact; (2) made with knowledge of its falsity, or with such utter disregard as to its truth

that knowledge may be inferred; (3) with the intent to induce another’s reliance on it; (4)

justifiable reliance upon the representation or concealment; and (5) a resulting injury proximately

caused by the reliance.” Valente v. University of Dayton, 438 Fed. App’x 381, 388 (6th Cir.

2011) (citing Burr v. Stark Cty. Bd. of Commrs., 23 Ohio St. 3d 69, 73 (1986)); see also Volbers-

Klarich v. Middletown Mgmt., Inc., 125 Ohio St. 3d 494, 501 (2010). Because a plaintiff must

specifically allege each element, “a failure to specifically plead the operative facts that form the

basis of a fraud claim renders the claim defective.” Wick, 139 N.E.3d at 485 (affirming dismissal

of fraud claim because complaint did not specifically allege operative facts for each element).5

       Here, the plaintiffs fail to allege any facts concerning the time, place, and content of

Worley’s allegedly false representations. Cmplt., Noble Cty. ¶¶ 356-64 (Ex. 1); Cmplt., Wash.

Cty. ¶¶ 357-65 (Ex. 2); Cmplt., Meigs County ¶¶ 357-65 (Ex. 3). While plaintiffs generically

allege that sales representative defendants “falsely represent[ed]” and “negligently and reckless

market[ed], advertis[ed], and promot[ed]” opioids, they fail to allege any statement by Worley at

all. Ex. 1 at ¶ 357; see Spit Shine A One Detailer, 100 N.E.3d at 1237-38.




5
  To make out a claim for constructive fraud, Ohio law requires a plaintiff to prove all elements
of a fraud claim, except fraudulent intent. See Firestone v. Galbreath, 747 F. Supp. 1556, 1569
(S.D. Ohio 1990) (citing Perlberg v. Perlberg, 18 Ohio St. 2d 55, 58 (1969)).

                                                -17-
Case: 1:17-md-02804-DAP Doc #: 3670 Filed: 03/31/21 25 of 33. PageID #: 510221




       Plaintiffs likewise fail to allege additional necessary elements with sufficient

particularity. Plaintiffs make factually unsupported and threadbare recitals of the

misrepresentation of material fact, the “knowledge of falsity,” and the “intent to induce reliance”

elements. Ex. 1 at ¶¶ 357-59. But such “opaque” recitals are insufficient both as a matter of

general pleading and specifically for a fraud claim. See Twombly, 550 U.S. at 555; Wick, 139

N.E.3d at 485. Plaintiffs also just recite the reasonable reliance element without any detailed

factual allegations. Id. at ¶ 362. Without “any facts to show that [plaintiffs] actually relied on

these statements to [their] detriment,” or that plaintiffs justifiably relied on them, their claims

necessarily fail. Wick, 139 N.E.3d at 485-86.

       Plaintiffs’ claims are further subject to dismissal because they wholly fail to allege any

proximate cause whatsoever. See Valente, 438 Fed. App’x at 388; Wick, 139 N.E. 3d at 485-86.

Plaintiffs only state they and “their residents suffered actual pecuniary damage directly caused

by defendants,” Ex. 1 at ¶ 363, and their failure to allege any proximate cause is in and of itself

grounds for dismissal. See Valente, 438 Fed. App’x at 388; Wick, 139 N.E. 3d at 485-86.

       E.      Plaintiffs Fail To Allege A Viable Negligence Claim Against Worley.

       Plaintiffs also have failed to allege a cognizable negligence claim against Worley. To

make out a negligence, plaintiffs must allege: “(1) the existence of a legal duty, (2) the

defendant’s breach of that duty, and (3) injury that is the proximate cause of the defendant’s

breach.” Dryer v. Flower Hosp., 383 F. Supp. 2d 934, 942 (N.D. Ohio 2005) (citing Mussivand

v. David, 544 N.E.2d 265, 270 (Ohio 1989)). In doing so, a plaintiff must allege “more than the

bare assertion of legal conclusions” and include direct “allegations respecting all the material

elements.” Marcellino v. Sears, Roebuck & Co., No. 1:12-CV-398, 2012 WL 2568079, at *3

(N.D. Ohio July 2, 2012) (dismissing negligence claim for failure to allege sufficient facts).




                                                 -18-
Case: 1:17-md-02804-DAP Doc #: 3670 Filed: 03/31/21 26 of 33. PageID #: 510222




       But here, plaintiffs only offer conclusory recitals of the elements of their negligence

claim. While they allege sales representative defendants have some duty “to exercise reasonable

care in the . . . advertising of opioids,” they do not allege factual allegations bearing on the actual

duty Worley supposedly owed to them. Cmplt., Noble Cty. ¶ 378 (Ex. 1); Cmplt., Wash. Cty.

¶ 379 (Ex. 2); Cmplt., Meigs Cty. ¶ 379 (Ex. 3); Marcellino, 2012 WL 2568079 at *3. They

similarly fail to allege any plausible factual allegations about how Worley breached whatever

duty he supposedly owed them, let alone how Worley’s breach proximately caused them any

injury. Ex. 1 at ¶¶ 373-79; Fla. Carpenters Reg’l Council Pension Plan, 964 F. Supp. 2d at 883.

       F.      Plaintiffs Fail To Allege A Viable Negligent Misrepresentation Claim Against
               Worley.

       To bring a claim for negligent misrepresentation, plaintiffs must allege “one who . . . in

the course of his profession . . . supplies false information for the guidance of others in their

business transactions” and that those “others” justifiably relied upon the information. Delman v.

City of Cleveland Heights, 41 Ohio St. 3d 1, 4 (1989) (citing Rest. 2d Torts (1965) 126–27,

§ 552(1)). A plaintiff cannot, however, allege a claim based solely on omissions: “there must be

some affirmative false statement.” Manno v. St. Felicitas Elementary Sch., 831 N.E.2d 1071,

1077 (Ohio App. 2005) (citing Leal v. Holtvogt 123 Ohio App. 3d 51, 62 (Ohio App. 1998)); see

also Textron Fin. Corp. v. Nationwide Mut. Ins. Co., 115 Ohio App. 3d 137, 149 (1996).

       That is what plaintiffs try here. They do not allege Worley made any affirmatively false

statements to them or their residents. While they allege a laundry list of conclusory statements

that sales representative defendants “made misrepresentations and omissions of facts material”

regarding the “marketing, advertising, and promotion” of opioids by “overstating the benefits,”

“downplaying the serious risks,” and “overstating OxyContin’s superiority,” they fail to allege

any affirmatively false statements that Worley made. Cmplt., Noble Cty. ¶ 381 (Ex. 1); Cmplt.,


                                                 -19-
Case: 1:17-md-02804-DAP Doc #: 3670 Filed: 03/31/21 27 of 33. PageID #: 510223




Wash. Cty. ¶ 382 (Ex. 2); Cmplt., Meigs Cty. ¶ 382 (Ex. 3). And Worley’s alleged downplaying

of potential opioid consumption risks are not affirmative false statements that could give rise to a

cognizable negligent misrepresentation claim. See Picker Int’l, Inc. v. Mayo Found., 6 F. Supp.

2d 685, 689-90 (N.D. Ohio 1998).

       A plaintiff must also demonstrate the defendant “fail[ed] to exercise reasonable care or

competence in obtaining or communicating the information” properly to assert a negligent

misrepresentation claim. Delman, 41 Ohio. St. 3d at 4. But plaintiffs do not allege any such

failure by Worley. While they generically allege the defendants “kn[e]w or should have

known… their misrepresentations and omissions” were false and their “conduct was willful,

wanton, and malicious,” Ex. 1 at ¶¶ 387 & 389, such unsupported conclusions are not sufficient

to withstand a motion to dismiss. See Fla. Carpenters Reg’l Council Pension Plan, 964 F. Supp.

2d at 883. Absent any allegations that Worley actually “failed to exercise reasonable care in

representing” the benefits and side-effects of opioid use, plaintiffs cannot bring a negligent

misrepresentation claim against him.

       Negligent misrepresentation also requires an allegation of a special relationship “under

which the defendant supplied information to the plaintiff.” Ziegler v. Findlay Indus., 464 F.

Supp. 2d 733, 738 (N.D. Ohio 2006). Such relationships do not exist in “ordinary business

transactions.” Hayes v. Computer Assoc. Inc., No. 03:02-CV-7452, 2003 WL 21478930, at *6

(N.D. Ohio June 24, 2003). They only exist in limited circumstances, such as when the

defendant is a professional “in the business of rendering opinions to others for their use in

guiding their business, and the plaintiff is a member of a limited class.” Hayes, 2003 WL

21478930, at *7; see also Picker Int’l, 6 F. Supp. 2d at 689 (dismissing negligent

misrepresentation claim where arms-length contractual duties do not create any special



                                                -20-
Case: 1:17-md-02804-DAP Doc #: 3670 Filed: 03/31/21 28 of 33. PageID #: 510224




relationship). But plaintiffs do not allege any special relationship existed between Worley and

the plaintiffs at the time he provided information about opioids, and nor could they. While

plaintiffs allege sales representative defendants “market[ed], advertis[ed], and promot[ed]

OxyContin” their counties, Ex. 1 at ¶ 381, they nowhere allege the parties were engaged in

anything other than typical arms-length transactions. Id. at ¶¶ 380-89; see also Hayes, 2003 WL

21478930, at *6-7. Absent plausible allegations of a special relationship, plaintiffs’ negligent

misrepresentation claim is properly dismissed against Worley for this failure too. Id.

       Finally, a party may be liable for negligent misrepresentation “only if the

disseminator . . . intends to supply it to a specific person or a limited group of people.” Amann v.

Clear Channel Commcn’s, 165 Ohio App. 3d 291, 297 (2006) (referencing Rest. 2d Torts

§ 552(2)(a)). A disseminator of information owes no duty to an “extensive, faceless, and

indeterminable . . . public-at-large.” Ohio Police & Fire Pension Fund v. Standard & Poor’s

Fin. Servs., LLC, 813 F. Supp. 2d 871, 880 (S.D. Ohio 2011), aff’d, 700 F.3d 829 (6th Cir.

2012). Yet, plaintiffs fail to offer any plausible allegations that Worley intended to supply the

alleged misrepresentations to specific persons or limited groups of people. They allege

“defendants . . . made misrepresentations . . . to plaintiffs and their residents.” Ex. 1 at ¶ 381.

But plaintiffs are municipal counties with more than 97,000 residents, 6 and nowhere do they

allege their populations are part of a limited class to whom Worley intended to disseminate

information regarding the use and potential side-effects of opioids. See Amann, 165 Ohio App.




6
  According to the United States Census Bureau, as of July 1, 2019, Noble County had a
population of 14,424 (U.S. Census Bureau QuickFacts: Noble County, Ohio; United States),
Washington County had a population of 59,911 (U.S. Census Bureau QuickFacts: Washington
County, Ohio), and Meigs County had a population of 22,907 (U.S. Census Bureau QuickFacts:
Meigs County, Ohio), totaling 97,242 people.

                                                 -21-
Case: 1:17-md-02804-DAP Doc #: 3670 Filed: 03/31/21 29 of 33. PageID #: 510225




3d at 297. Absent allegations Worley intended to promote opioids to specific people or a limited

group of people, plaintiffs’ negligent misrepresentation claims cannot proceed. See id.

       G.      Plaintiffs Cannot State A Viable Public Nuisance Claim Against Worley.

       The sin qua non of a public nuisance claim is the “unreasonable interference with a right

common to the general public.” City of Cleveland v. J.P. Morgan Chase Bank, N.A., 2013-Ohio-

1035, ¶ 9 (Ohio App. 2013). An “unreasonable interference” is one that “significantly

interfere[s] with public health, safety, peace, comfort, or convenience, conduct that is contrary to

a statute, ordinance, or regulation, or conduct that is of a continuing nature or one which has

produced permanent or long-lasting effect upon the public right, an effect of which the actor is

aware or should be aware.” Id. A public nuisance can be either absolute or qualified. Angerman

v. Burick, 2003-Ohio-1469, ¶ 9 (Ohio App. 2003). Absolute nuisance requires either a culpable,

intentional act or a nonculpable act that is so dangerous that absolute liability attaches, while a

qualified nuisance “consists of an act lawfully but so negligently or careless done as to create a

potential and unreasonable risk of harm.” Id.

       Here, plaintiffs do not specifically allege an absolute public nuisance or a qualified

nuisance, but either way they have failed to state a claim against Worley. 7 As a threshold matter,

plaintiffs fail to allege Worley violated a right common to the general public. Ohio follows the

traditional definition of a public right under which the right is one “collective in nature,” not

something enjoyed by many or all in their individual capacities. Paulus v. Citicorp N. Am., Inc.,


7
  In addition to a common law public nuisance claim, plaintiffs also allege a claim for public
nuisance under the Ohio Product Liability Act. Ohio Rev. Code (“ORC”) § 2307.071. Under
that statute, a product liability claim can include “any public nuisance claim or cause of action at
common law in which it is alleged that the . . . marketing, [or] distribution . . . of a product
unreasonably interferes with a right common to the general public.” Id. § 2307.71(A)(13); Ex. 1
at ¶ 393. But as further explained below, plaintiffs fail to allege any specific marketing or
distribution efforts by Worley, any public right Worley purportedly violated, or any causal
relationship between plaintiffs’ alleged harm and Worley’s conduct.

                                                 -22-
Case: 1:17-md-02804-DAP Doc #: 3670 Filed: 03/31/21 30 of 33. PageID #: 510226




No. 2:12-CV-856, 2014 WL 4557603, at *16 (S.D. Ohio Sept. 12, 2014). Yet, Plaintiffs only

allege defendants “interfer[ed] with a right common to the general public” to be free from

“substantial injury to public health, safety, peace, comfort and convenience.” Ex. 1 at ¶¶ 391-92.

Such a bare recitation, without identifying any public right Worley supposedly violated or

interfered with, will not do. See Paulus, 2014 WL 4557603 at *16.

       Nor have plaintiffs alleged any culpable, intentional act by Worley sufficient to state a

claim for absolute nuisance. Angerman, 2003-Ohio-1469 at ¶ 10. To meet the intentional

conduct requirement, a plaintiff must establish that “the creator of [the alleged nuisance]

intended to bring about the conditions which are in fact found to be a nuisance.” Id. at ¶ 10. But

plaintiffs make only conclusory allegations of conduct by “sales representative defendants,”

alleging they “falsely represent[ed] to prescribers and the public concerning the risk of addiction,

abuse and diversion of OxyContin and of its relative safety.” Cmplt., Noble Cty. ¶ 393 (Ex. 1);

Cmplt., Wash. Cty. ¶ 394 (Ex. 2); Cmplt., Meigs Cty. ¶ 394 (Ex. 3). They nowhere allege any

specific statements Worley allegedly made, or that Worley intentionally sought to bring about

any of the conditions plaintiffs claim to be nuisances. See Angerman, 2003-Ohio-1469, at ¶ 10.

Nor have they even alleged that selling opioids is so dangerous that absolute liability attaches.

       Plaintiffs have likewise failed to state a claim for a qualified public nuisance, which

“requires proof of negligence because, otherwise, there is no nuisance.” Angerman, 2003-Ohio-

1469, at ¶ 12. Plaintiffs have not alleged Worley breached any duty owed to plaintiffs, or that

Worley proximately caused their alleged injuries. Supra Section III(E). Nor have they alleged

any proximate causal link between Worley’s alleged false representations and their injuries. See,

e.g., Ex. 1 at ¶¶ 393-94. That deficiency is particularly glaring given the many intervening

events between Worley’s alleged actions as a sales representative and any harm to the plaintiffs,



                                                -23-
Case: 1:17-md-02804-DAP Doc #: 3670 Filed: 03/31/21 31 of 33. PageID #: 510227




including a doctor prescribing opioids, a pharmacy filling that prescription, the patient

consuming and misusing/ abusing prescribed opioids, and so on. Plaintiffs’ alleged injuries are

far too removed from Worley’s alleged conduct to support any cognizable public nuisance claim.

See City of Cleveland v. J.P. Morgan Chase Bank, 2013-Ohio-1035, at ¶ 20 (dismissing absolute

public nuisance claim where “so many other factors led to the City’s claimed injury”).

                                         CONCLUSION

       The Court should take up and grant Worley’s Motion.



 Dated: March 31, 2021                         Respectfully Submitted,




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                                                -24-
Case: 1:17-md-02804-DAP Doc #: 3670 Filed: 03/31/21 32 of 33. PageID #: 510228




                           CERTIFICATE OF COMPLIANCE

        Pursuant to Northern District of Ohio Local Rule 7.1(f), I hereby certify this
memorandum complies with the dispositive motion page limit for complex cases because it is
less than 30 pages. See Dkt. 232, Section 2(h) (Case Management Order).




                                              Paul Werner




                                            -25-
Case: 1:17-md-02804-DAP Doc #: 3670 Filed: 03/31/21 33 of 33. PageID #: 510229




                              CERTIFICATE OF SERVICE

       On March 31, 2021, I electronically filed the foregoing document through the CM/ECF
system, which will send a notice of electronic filing to the attorneys of record.




                                              Paul Werner




                                            -26-
